Case 2:05-cv-02371-.]DB-dkv Document 6 Filed 06/07/05 Page 1 of 2 Page|D 1

lN THE UNITED STATES DISTRICT COURT F"~E“D ar m
FoR THE WESTERN DISTRICT oF TENNESSEE '
WESTERN DIvIsIoN 05 JUH -7 PH 2: 59

 

noaem' a a
amax u.:s. hs;§céjio

CONSOLIDATED CONTAINER COMPANY, LP ) W_D, O§: TN' MEMFH;`S
PLAINTIFF, §
V. § Case No.: 05-2371-BV
WARREN UNILUBE, INC. §
DEFENDANT. §

 

ORDER GRANTING EXTENSION OF TIME WITHIN WHICH TO ANSWER OR
OTHERWISE RESPOND TO PLAINTIFF’S COMPLAINT

 

Before the Court is the Unopposed Motion of Defendant Warren Unilube, lnc. for
Extension of Time to Answer or Otherwise Respond to Plaintiff’s Complaint. The Court hereby

finds that the Motion is Wel] taken and should be granted

IT IS, THEREFOR_E, ORDERED, ADJUDGED AND DECR_EED that Def`erldant,
Warren Unilube, lnc., shall have through and incIuding June 28, 2005, in Which to answer, move,

plead or otherwise respond to Plaintiff"s Complaint.

f<©,¢a/»w ,Y. gmc/vi

UNITED STATES MAGISTRATE IUDGE

Date: §/Lm,¢, 7/_ gOO_S-'

,. w\ q_'. '1'
.; ma .,~

.. ., utu > i;' ,M-‘ . _;
This document entered on the docket sneet |n ”coE§llanal ‘ inn ing § “)
with Rule 58 and!or 79(a) FRCP on

5 105407.1

   

UN1TED TATS D1STRC1T COURT - EsTRND11CSR11 OF TNNEESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 6 in
case 2:05-CV-02371 Was distributed by faX, mail, or direct printing on
June 13, 2005 to the parties listcd.

 

 

.1 ohn S. GolWen

BASS BERRY & SIMS PLC- Memphis
100 Peabody Place

Ste. 900

1\/1emphis7 TN 38103

Christina Hull Eikhoff
Alston & Bird LLP

One Atlantic Center

1201 West Peachtree Street
Atlanta, GA 30309--342

Steven M. Collins
ALSTON & BIRD

1201 West Peachtree St.
Atlanta, GA 30309--342

Lucian T. Pera

ARMS TRONG ALLEN, PLLC
80 Monroe Avenue

Ste. 700

1\/1emphis7 TN 38103--246

Amy Pepke

ARMS TRONG ALLEN, PLLC
80 Monroe Avenue

Ste. 700

1\/1emphis7 TN 3 8103--246

Honorable .1. Breen
US DISTRICT COURT

